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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:
JOSEPH F. INIGUEZ
                                                                                                  2:22-CV-00106 MCS (GJSx)
                                                                Plaintiff(s)
                                    v.

OFFICER R. MARTINEZ, an individual and Officer of
the Azusa Police Department; CITY OF AZUSA, a                                                STIPULATION REGARDING
public entity; and DOES 1 to 20,                                                          SELECTION OF PANEL MEDIATOR
                                                             Defendant(s).

NOTE: This form should be filed only in cases in which the Court has issued an order of referral to ADR Procedure
No. 2, directing the parties to appear before a neutral selected from the Court's Mediation Panel.
CHECK ONLY ONE BOX:
        The parties stipulate that             Richard Copeland               may serve as the Panel
        Mediator in the above-captioned case.               Garros Chan               has contacted
                                                                 (Print Name)
        the Panel Mediator and obtained the Panel Mediator's consent to serve on a pro bono basis for
        three hours. All parties and the Panel Mediator have agreed that the mediation will be held
        on          TBD            and counsel will submit mediation statements seven calendar days
                    (Date)
        before the session.
        The parties request that ADR Program staff assign a Panel Mediator with expertise in the
        following area of law:
     Dated: 02/08/2023                                                   /s/ Glen T. Jonas, Esq.
                                                                        Attorney For Plaintiff Joseph F. Iniguez

     Dated: 02/08/2023                                                   /s/ Michael H. Artan, Esq.
                                                                        Attorney For Plaintiff Joseph F. Iniguez

     Dated: 02/08/2023                                                   /s/ Garros Chan, Esq.
                                                                        Attorney For Defendant City of Azusa & Ofc. Martinez

     Dated:
                                                                        Attorney For Defendant
  Please attach additional sheets if needed to record all signatories, then file electronically using one of two events: "Civil Events => Other Filings
  => ADR/Mediation Documents => Stipulation Regarding Selection of Panel Mediator (Consent) - (ADR-2)" or "Civil Events => Other Filings
  => ADR/Mediation Documents => Stipulation Regarding Selection of Panel Mediator (Assigned) - (ADR-2)."

 ADR-02 (01/23)                             STIPULATION REGARDING SELECTION OF PANEL MEDIATOR
